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                                                                                FILED
                          UNITED STATES DISTRICT COURT                           J132O20
                              WESTERN DISTRICT OF TEXAS                  C1.ERK. U.    TRICT COURT
                                                                                      )RiCT OF TEXAS
                                   AUSTIN DIVISION
                                                                                       DEPUTY CLERK

United States of America

v.                                                    Case Number: AU:19-CR-00305(1)-LY

(1) David Randle Jakobeit
     Defendant



                    CONSENT TO ADMINISTRATION OF GUILTY PLEA
                        AND FED. R. CRIM. P.11 ALLOCUTION
                       BY UNITED STATES MAGISTRATE JUDGE


             I, (1) David Randle Jakobeit, the defendant in the above-numbered and styled cause,
with the advice and consent of my attorney, hereby agree and consent to be advised of my rights
and to enter a voluntary plea of guilty before a United States Magistrate Judge. I understand that
the plea is subject to the approval of the United States District Court and that se ncing will be
conducted by the District Court.

SIGNED this 15th day of January, 2020.


                                                  (1) David Randle   Jakbeit
                                                  Defendant




Mark H. Marshall
Assistant U.S. Attorney
